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                   EXHIBIT A
                                                                                 Page 1 of 1
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 Skip to Main Content Logout My Account My Cases Search Menu New Civil Search Refine Search Back                       Location : All Courts Images Help

                                                         REGISTER OF ACTIONS
                                                                CASE NO. 19-11-14832

Isiah Kellup VS. Bank of America, N.A.                                     §                                          Foreclosure - Other
                                                                                                          Case Type:
                                                                           §                                          Foreclosure
                                                                           §                              Date Filed: 10/31/2019
                                                                           §                               Location: 284th Judicial District Court
                                                                           §


                                                               RELATED CASE INFORMATION

Related Cases
 18-04-05443 (Related Parties)


                                                                  PARTY INFORMATION

                                                                                                                           Attorneys
Defendant       Bank of America, N.A.
                 Dallas, TX 75201


Plaintiff       Kellup, Isiah                                                                                              Kerry Prisock
                                                                                                                            Retained
                 Spring, TX 77386
                                                                                                                           713-840-7570(W)


                                                           EVENTS & ORDERS OF THE COURT

             OTHER EVENTS AND HEARINGS
10/31/2019   Original Petition (OCA)
10/31/2019   E-Filed Original Petition Document
10/31/2019   Request For Service
11/05/2019   Injunction or Show Cause (OCA)
11/05/2019   E-Notice Envelope Number:
11/05/2019   Certified Mail Citation
                 Bank of America, N.A.                              Served                  11/08/2019
                                                                    Returned                11/13/2019
11/05/2019 Temporary Restraining Order
              Bank of America, N.A.                                  Unserved
11/13/2019 Motion (No Fee)
11/13/2019 Proposed Order
11/13/2019 Proposed Order
11/15/2019 Motion Hearing (1:30 PM) (Judicial Officer Bays, Kristin)


                                                                FINANCIAL INFORMATION



             Plaintiff Kellup, Isiah
             Total Financial Assessment                                                                                                              486.00
             Total Payments and Credits                                                                                                              486.00
             Balance Due as of 11/14/2019                                                                                                              0.00

11/01/2019   Transaction Assessment                                                                                                                 480.00
11/01/2019   E-File Electronic Payment Receipt # 2019-250650                              Kellup, Isiah                                           (480.00)
11/05/2019   Transaction Assessment                                                                                                                    2.00
11/05/2019   Payment                   Receipt # 2019-251002                              Prisock, Kerry                                             (2.00)
11/05/2019   Transaction Assessment                                                                                                                    4.00
11/05/2019   Payment                   Receipt # 2019-251013                              Prisock, Kerry                                             (4.00)




http://odyssey.mctx.org/Secured/CaseDetail.aspx?CaseID=2341269                                                                            11/14/2019
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